 6:23-cv-01967-HMH-JDA             Date Filed 08/14/23        Entry Number 5           Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION
                        Civil Action No.: 6:23-cv-01967-HMH-JDA


ASHTON THOMPSON,                    )
                                    )
                  Plaintiff,        )
            v.                      )
                                    )
ECI MANAGEMENT LLC.                 )
                                    )
                  Defendant.        )
                                    )
______________________________________________________________________________

                                   NOTICE OF DISMISSAL

      Pursuant to Rule 41(a)(1)(i) of the Federal Rules of Civil Procedure, Plaintiff stipulates to

 the dismissal with prejudice of all claims asserted in this action.

      This the 11th day of May 2023.



                                                              /s/ Sean F. Herrmann
                                                              Sean F. Herrmann
                                                              South Carolina Bar No. 100940
                                                              FID 12346
                                                              Herrmann & Murphy, PLLC
                                                              220 North Main Street
                                                              Suite 500
                                                              Greenville, South Carolina 29601
                                                              Phone: 864-516-7526
                                                              Fax: 704-940-6407
                                                              Email: sean@herrmannmurphy.com

                                                              Attorney for Plaintiff




                                                 1
